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                     IN THE UNITED STATES DISTRICT COURT

                   FOR THE WESTERN DISTRICT OF WISCONSIN

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UNITED STATES OF AMERICA,
                                                                 ORDER
                            Plaintiff,
                                                                 08-cr-87-bbc
              v.

COREY THOMAS,

                            Defendant.

- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -

       On October 14, 2011, I granted defendant Corey Thomas’s motion for leave to

proceed on appeal in forma pauperis. He has now supplemented his motion with a financial

affidavit as well as a request for appointment of counsel. I am satisfied from my review of

the documents that he is financially unable to pay the costs of his appeal or to retain

counsel for his appeal. He is financially eligible for the appointment of counsel. I will send

the Court of Appeals for the Seventh Circuit a copy of this order so that it may appoint

appellate counsel for defendant.


                                         ORDER

       Defendant’s motion for appointment of counsel is GRANTED.


       Entered this 24th day of October, 2011.

                                           BY THE COURT:
                                           /s/
                                           BARBARA B. CRABB
                                           District Judge




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